                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          DOCKET NO. 3:10-cr-00124-MOC

UNITED STATES OF AMERICA,                 )
                                          )
                                          )
                                          )
Vs.                                       )                     ORDER
                                          )
VIC HINSON,                               )
                                          )
               Defendant.                 )



       THIS MATTER is before the court on defendant’s Motion to Amend Judgment.

The Judgment (#248) was entered on August 11, 2011, and was affirmed by an

unpublished opinion (#314) March 8, 2012.      In addition, defendant has filed and this

court has earlier denied petitioner’s Motion to Vacate (#310) by Order (#328) dated May

16, 2012. In the instant motion, defendant seeks to amend the now final Judgment to

eliminate the requirement that she participate in the Inmate Financial Responsibility

Program (“IFRP”). Defendant has also submitted exhibits consisting of statements from

her inmate trust account.

       The Bureau of Prisons has the authority to place a defendant in the IFRP based on

the wording contained in the criminal judgment. See United States v. Watkins, 161 F.

App’x 337, 337 (4th Cir. 2006); Bramson v. Winn, 136 F. App’x 380, 381 (1st Cir.

2005). Before seeking relief from any court regarding obligations under the IFRP, a

defendant must exhaust all administrative remedies through the Bureau of Prisons.

McGhee v. Clark, 166 F.3d 884, 887 (7th Cir. 1999). Once all administrative remedies



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have been exhausted, a defendant may challenge such payments only by filing the

appropriate pleading in the district court located in the district of confinement, not with

the sentencing court. See Moore v. Olson, 368 F.3d 757, 759 (7th Cir. 2004); Matheny v.

Morrison, 307 F.3d 709, 711-12 (8th Cir. 2002). While this court can afford petitioner no

relief, the court will strongly recommend that petitioner work with her case manager on

this matter.



                                           ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion to Amend Judgment

(#355) is DENIED.



                           Signed: May 13, 2013




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